

People v Hewitt (2025 NY Slip Op 02661)





People v Hewitt


2025 NY Slip Op 02661


Decided on May 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 01, 2025

Before: Moulton, J.P., Friedman, Kapnick, Shulman, O'Neill Levy, JJ. 


Ind No. 70515/22|Appeal No. 4246|Case No. 2023-03550|

[*1]The People of the State of New York, Respondent, 
vJordan Hewitt, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Emilia King-Musza of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Larry Glasser of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Jeffrey Zimmerman, J. at plea; Marsha Michael, J. at sentencing), rendered May 24, 2023, convicting defendant, upon his plea of guilty, of attempted burglary in the first degree, and sentencing him to a term of four years imprisonment and five years post-release supervision, unanimously modified, on the law, to the extent of amending the sentence and commitment sheet to remove the designation that defendant was sentenced as a second felony offender, and otherwise affirmed.
The People concede that the sentence and commitment sheet should be amended as indicated.
We perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 1, 2025
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








